                            THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


JACQUELINE S. ROBINSON,                                    )
                                                           )
           Plaintiff,                                      )
                                                           )
v.                                                         )        Civil Action No. 3:12-cv-01182
                                                           )
BANK OF AMERICA N.A. dba BANK OF                           )
AMERICA HOME LOANS, THE                                    )
NEWPORT AGENCY, FIDELITY                                   )
NATIONAL PROPERTY AND CASUALTY                             )
INSURANCE COMPANY

           Defendants.

                        STIPULATION OF DISMISSAL WITH PREJUDICE

          Counsel for Plaintiff, Jacqueline Robinson, and counsel for Defendant, Defendant Bank

of America, N.A.1 having reached a settlement in this matter, hereby stipulate that this matter be

dismissed WITH PREJUDICE pursuant to settlement, each party to bear its own costs and

attorneys’ fees.

          SO STIPULATED AND AGREED, this 12th day of August, 2014.

                                                         Respectfully submitted,



                                                          /s/ Lauren Paxton Roberts
                                                         Lauren Paxton Roberts (BPR No. 25049)
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    Incorrectly named as Bank of America, N.A. d/b/a Bank of America Home Loans



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                                                 /s/ J. Trent Lehman
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                                                 (615) 371-8999 (phone)
                                                 Attorney for Plaintiff

                               CERTIFICATE OF SERVICE

        I, do hereby certify that true and exact copies of the foregoing Stipulation of Dismissal
with Prejudice have on this 12th day of August, 2014 been filed with the Clerk of the Court
using the CM/ECF system and mailed a true copy of same via prepaid First Class mail, or
electronic mail to:

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                                                 /s/ Lauren Paxton Roberts
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